
33 N.Y.2d 828 (1973)
August Kurtz, Appellant,
v.
State of New York, Respondent. (Claim No. 45963.)
Court of Appeals of the State of New York.
Argued November 12, 1973.
Decided December 27, 1973.
Arthur A. Snyder and Harold Craske for appellant.
Louis J. Lefkowitz, Attorney-General (Jeremiah Jochnowitz and Ruth Kessler Toch of counsel), for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order affirmed, without costs, on the opinion at the Appellate Division.
